Case 2:17-cv-07727-PSG-JEM Document 68 Filed 04/30/18 Page 1 of 14 Page ID #:1335



 1   BARRY ROSEN
 2   136 S. Clark Dr. #5
     Los Angeles, CA 90048                                                  ~,     r       N
 3
     Tel:(323)653-2043                                                            ,.       a,
                                                                                           ~.•
4                                                                           ~¢a _;~;
     In Pro Per                                                                  ~.~'
                                                                                   ~~~.;   p     r
 5                                                                               ~
                                                                                 ~,-~..-

6                                                                                ~
                                                                                 "~f'~

                                                                                 ~~ ~y
                           UNITED STATES DISTRICT COURT                            r-      o

 s                       CENTRAL DISTRICT OF CALIFORNIA
 9
                  BARRY ROSEN,                   Case No. 17-CV-07727-PSG-JEMx
io   Individually and as a Private Attorney
ii   General
                  Petitioner and Plaintiff,      DECLARATION OF BARRY
12                                               ROSEN IN SUPPORT OF
13                      vs.                      APPLICATION FOR ENTRY OF
                                                 DEFAULT AGAINST:
14
     UNITED STATES GOVERNMENT,                   RESPONDANT/DEFENDANTS
15   FEDERAL AVIATION                            CITY OF SANTA MONICA AND
     ADMINISTRATION, AND CITY OF                 UNITED STATES GOVERNMENT,
16
     SANTA MONICA,                               FEDERAL AVIATION
i~               Respondents and                 ADMINISTRATION
is   Defendants.

i9
Zo
21
     I Barry Rosen declare as follows:
a2
23   1.    I am the Plaintiff in this action. If called as a witness, I could and would
24
     competently testify thereto.
Zs
26           Name of Respondent/Defendant: CITY OF SANTA MONICA

27
     1)As evidenced by the Courts March 21, 2018 order(Document 55),
Zs    DECLARATION OF BARRY ROSEN ISO APPLICATION FOR ENTRY OF DEFAULT AGAINST: CITY OF
             SANTA MONICA & US GOVERNMENT FFEDERAL AVIATION ADMINSTRATION
                                             1
Case 2:17-cv-07727-PSG-JEM Document 68 Filed 04/30/18 Page 2 of 14 Page ID #:1336




 i     named Respondent/Defendant was required to "Respond" to Petitioner/Plaintiff's
 2
       Third Amended Petition/Com~laint on or before April 23, 2018. Attached hereto
 3

 4     E~ibit 1 is a true and correct copy of the Courts March 21, 2018 order(Document
 5
       55).
 6
       2)I am aware that Pursuant to Federal Rules of Civil Procedure 5(a)(1)(B) and

 s     5(a)(1)(D), a "Response" requires that responsive pleadings or a written motion be
 9
       served pursuant to Federal Rules of Civil Procedure 5(b).
10

t~     3)I am aware that prior to filing electronically, pursuant to Local Rule 5-3.2.1,
12
       Individuals who are not registered for the CM/ECF System must be served in
13

14
       accordance with F.R.Civ.P. 5, and proof of service on such individuals must be

15     made by declaration in the form required by L.R. 5-3.1.2.
16
       4)I am Pro Per in this Action and am not registered for the CM/ECF System. As

is     such I must be served Federal Rules of Civil Procedure 5(b)(1)(A) or 5(b)(1)(C).
i9
       5)As evidenced by named Respondent/Defendant's Proof of Service(Document
Zo
21
       63), I was not served at all prior to a motion being filed on April 23, 2018

22     to L.R. 5-3.1.2 and F.R.Civ.P. 5. As such, named Respondent/Defendant's filing
~~c~
       was wholly deficient/defective for failure to serve me with their motion
24

Zs     6)Because named Respondent/Defendant's motion filing was deficient/defective
26
       due to lack ofany service whatsoever, the applicable time limit for the above-
2~

28      DECLARATION OF BARRY ROSEN ISO APPLICATION FOR ENTRY OF DEFAULT AGAINST: CITY OF
               SANTA MONICA & US GOVERNMENT FFEDERAL AVIATION ADMINSTRATION
                                              2
Case 2:17-cv-07727-PSG-JEM Document 68 Filed 04/30/18 Page 3 of 14 Page ID #:1337




     named Respondent/Defendant to otherwise respond to the Third Amended
2
     Petition/Com~laint in this action pursuant to the Courts March 21, 2018 order
 3

4    expired on Apri123, 2018. Attached hereto as E~ibit 2 is a true and correct copy
 5
     of Respondent/Defendant's Proof of Service(Document 63).
6
     7)Because named Respondent/Defendant's motion filing was deficient/defective

 s   for lack of service pursuant to F.R.Civ.P. 5, the above-named
9
     Respondent/Defendant have failed to timely plead or otherwise respond to the
io
ii   Third Amended Petition/Com~laint and are therefore in default.
12
     8)I am aware that Respondent/Defendant's failure to serve documents on
13

14
     Petitioner/Plaintiff pursuant to F.R.Civ.P. 5 prior to filing also constitutes a

15   violation of L.R 7-12(Failure to File Required Documents).
16
         Name of Respondent/Defendant: UNITED STATES GOVERNMENT,
i~
is                     FEDERAL AVIATION ADMINISTRATION
19
     9)As evidenced by the Courts March 21, 2018 order(Document 55),
ao
Zt
     named Respondent/Defendant was required to "Respond" to Petitioner/Plaintiff's

22   Third Amended Petition/Com~laint on or before Apri123, 2018.
23
     10)Pursuant to Federal Rules of Civil Procedure 5(a)(1)(B) and 5(a)(1)(D), a
24

25   "Response" requires that responsive pleadings or a written motion be served
26

27

28    DECLARATION OF BARRY ROSEN ISO APPLICATION FOR ENTRY OF DEFAULT AGAINST: CITY OF
             SANTA MONICA & US GOVERNMENT FFEDERAL AVIATION ADMINSTRATION
                                            3
Case 2:17-cv-07727-PSG-JEM Document 68 Filed 04/30/18 Page 4 of 14 Page ID #:1338



 i   pursuant to Federal Rules of Civil Procedure 5(b). Attached hereto as Exhibit 1 is
2
     true and correct copy ofthe Courts March 21, 2018 order(Document 55).
3

4     11)I am aware that Prior to filing electronically, pursuant to Local Rule 5-3.2.1,
 5
     Individuals who are not registered for the CM/ECF System must be served in
6
     accordance with F.R.Civ.P. 5, and proof of service on such individuals must be

 s    made by declaration in the form required by L.R. 5-3.1.2.
9
      12)I am Pro Per in this Action and am not registered for the CM/ECF System and
io
ii    must be served Federal Rules of Civil Procedure 5(b)(1)(A) or 5(b)(1)(C).
i2
      13)As evidenced by named Respondent/Defendant's Proof of Service (Document
13

14
     59-4), I was not served at all prior to a motion being filed on Apri123, 2018

15   pursuant to L.R. 5-3.1.2 and F.R.Civ.P. 5. As such, named
16
     Respondent/Defendant's filing was deficient/defective. Attached hereto as Exhibit
i~
is   3 is a true and correct copy of Respondent/Defendant's Proof of Service
19
     (Document 59-4).
ao
21
      14)Because named Respondent/Defendant's motion filing was deficient/defective

22   due to lack ofany service whatsoever, the applicable time limit for the above-
23
     named Respondent/Defendant to otherwise respond to the Third Amended
24

25   Petition/Com~laint in this action pursuant to the Courts March 21, 2018 order
26
     expired on April 23, 2018.
2~

28     DECLARATION OF BARRY ROSEN ISO APPLICATION FOR ENTRY OF DEFAULT AGAINST: CITY OF
              SANTA MONICA & US GOVERNMENT FFEDERAL AVIATION ADMINSTRATION
                                             4
Case 2:17-cv-07727-PSG-JEM Document 68 Filed 04/30/18 Page 5 of 14 Page ID #:1339



 1    15)Because named Respondent/Defendant's motion filing was deficient/defective
 2
     for lack of service pursuant to F.R.Civ.P. 5, the above-named
 3

 4   Respondent/Defendant have failed to timely plead or otherwise respond to the
 5
     Third Amended Petition/Com~laint and are therefore in default.
 6
      16)Respondent/Defendant's failure to serve documents on Petitioner/Plaintiff

 s    pursuant to F.R.Civ.P. 5 prior to filing also constitutes a violation of L.R 7-12
 9
     (Failure to File Required Documents).
io
ii    17)Respondent/Defendant's motion filing was deficient/defective for failure to
12
     lodge a proposed order pursuant to L.R. 7-20 which also constitutes a violation of
13

14
     L.R 7-12(Failure to File Required Documents).

15    18)The above-named Respondent/Defendant's are not a minor or an incompetent
16
     person.
i~
tg    19)The above-named Respondent/Defendant's are not currently in the military
19
     service, and therefore the Service Members Civil Relief Act does not apply.
ao
zt   I declare under penalty of perjury under the laws ofthe State of California that the

a2 foregoing is true and correct.
23
     Dated: April 27, 2018
24                                                              „~-~
                                                           /
                                                           ,
25                                                    ~„
                                                           Barry Rosen
26

27

28     DECLARATION OF BARRY ROSEN ISO APPLICATION FOR ENTRY OF DEFAULT AGAINST: CITY OF
              SANTA MONICA & US GOVERNMENT FFEDERAL AVIATION ADMINSTRATION
                                             5
Case 2:17-cv-07727-PSG-JEM Document 68 Filed 04/30/18 Page 6 of 14 Page ID #:1340




                             Exhibit 1
Case
 Case2:17-cv-07727-PSG-JEM
       2:17-cv-07727-P~ ,EMDocument
                            Document6855Filed  04/30/18
                                           Filed 03/21! Page 7 of
                                                          gage    142 .Page
                                                               1 of     Page•ID
                                                                              ID#:1341
                                                                                 #:504

                                                                                  F1Lk;~
                                                                       CLF~Wi;. 1'.5. UI171UC'7 C.pl-R'[

     1
                                                                             3/21/2018
    2                                                               fEVIRAL D1S7RICT QF CA4[t"C1R.~`IA
                                                                      BY:      CW               DEPI"ri'
    3
    4
     5
    6
     7
     8                             UNITED STATES DISTRICT COURT
    9                            CENTRAL DISTRICT OF CALIFORNIA
    10
    11
         BARRY ROSEN,Individually and as a        Case No.    2:17-cv-07727 PSG(JEMX)
    12   Private Attorney General,
                                                  ~r         ORDER TO AMEND
    13          Petitioner and Plaintiff,         PLAINTIFF' SECOND AMENDED
                                                  PETITION
    14          v.
    15   UNITED STATES GOVERNMENT,
         FEDERAL AVIATION                         Judge: Honorable Philip S. Gutierrez
    16   ADMINISTRATION, AND CITY OF
         SANTA MONICA,
    17
                Respondents and Defendants.
    18
    19
   20
   21
   22
   23
   24
   25
   26
   27
   2g
                                                                            Order to Amend Plaintiffs
         Case No. 2:17-cv-07727 PSG (JEMx)
                                                                             Second Amended Petition
  Case
Case   2:17-cv-07727-P~  EMDocument
     2:17-cv-07727-PSG-JEM   Document
                                    6855Filed
                                           Filed          Page
                                                 03/21" Page
                                              04/30/18         2 of
                                                             8 of 142 Page
                                                                       PageIDID#:1342
                                                                                #:505


     1          Having reviewed the Stipulation to Amend Plaintiff's Second Amended
     2   Petition (the "Stipulation"), and good cause appearing,
     3
     4          IT IS HEREBY ORDERED THAT:
     5           1.     Plaintiff's Third Amended Petition—a proposed copy of which is filed
     6   as an attachment to the Stipulation—is deemed filed and served as of the date the
     7   parties filed the Stipulation; and
     8          2.      Defendants shall respond to Plaintiff's Third Amended Petition, by
     9   motion or otherwise, on or before April 23, 2018.
    10
    11                                           ~~                                       ;
    12   Dated: March 21, 2018
                                              T 1 e Hon.P i ip      utierrez
    13                                        Unites States District Judge
    14
    15
    16
    17
    18
    19
   20
   21
   22
   23
   24
   25
   26
   27
   28
                                                                               Order to Amend Plaintiffls
         Case No. 2:17-cv-07727 PSG (JEMx)       1
                                                                                Second Amended Petition
Case 2:17-cv-07727-PSG-JEM Document 68 Filed 04/30/18 Page 9 of 14 Page ID #:1343




                             Exhibit 2
Case 2:17-cv-07727-PSG-JEM
  Case ~ x:17-cv-07727-P~ JEMDocument 6863Filed
                               Document         04/30/18
                                             Filed 04/2' Page 101ofof14
                                                           Page                 #:1344
                                                                      3 Page ID #:1303


      1   LANE DILG(SBN 277220)
          City Attorney
     2    Lane.Dilg@smgov.net
          IVAN O. CAMPBELL(SBN 216049)
     3    Deputy City Attorney
          Ivan.Campbell@smgov.net
     4    1685 Main Street, Third Floor
          Santa Monica, California 90401-3295
     5    Tel: 310.458.8336; Fax: 310.393.6727
     6    DAVID M. WALSH(SBN 120761)
          DWalsh mofo.com
     7    MORRI ON & FOERSTER LLP
          707 Wilshire Boulevard, Suite 6000
     8    Los Angeles, California 90017-3543
          Tel: 213.892.5200; Fax: 213.892.5454
     9
    10    Attorne s for Defendant
          CITY ~F SANTA MONICA
    11
                                 UNITED STATES DISTRICT COURT
    12
                               CENTRAL DISTRICT OF CALIFORNIA
    13
    14
    15    BARRY ROSEN,Individually and as a        Case No.    2:17-cv-07727 PSG(JEMx)
          Private Attorney General,
    16
                                                   CERTIFICATE OF SERVICE
                 Petitioner and Plaintiff,
    17
                 V.                                [NOTICE OF MOTION AND MOTION TO
    18
                                                   DISMISS PLAINTIFF'S THIRD AMENDED
          UNITED STATES GOVERNMENT,
    19    FEDERAL AVIATION                         PETITION; REQUEST FOR.TUDICIAL
          ADMINISTRATION,AND CITY OF               NOTICE,[PROPOSED] ORDER,AND
    2~    SANTA MONICA,                            DECLARATION OF IVAN O.CAMPBELL]
    21           Respondents and Defendants.
                                                   Date: July 9, 2018
    22
                                                   Time: 1:30 p.m.
    23                                             Hon. Philip S. Gutierrez
                                                   Courtroom: 6A
    24
    25                                             Third Amended Petition Filed: March
                                                   19, 2018
    26
    27
    28
          Case No. 2:17-cv-07727 PSG(JEMx)                               CERTIFICATE OF SER
Case 2:17-cv-07727-PSG-JEM
  Case  ,:17-cv-07727-P~" ~MDocument 6863Filed
                              Document         04/30/18
                                            Filed 04/23/'`Page 112ofof14
                                                            gage         Page ID
                                                                       3 Page. ID #:1304
                                                                                  #:1345



      1                                CERTIFICATE OF SERVICE
     ~~          I hereby certify that on the Apri123, 2018, I electronically filed the following
     3    documents:
     4           1.     City of Santa Monica's Notice of Motion and Motion to Dismiss
     5                   Verified Third Amended Petition;
     6           2.     City of Santa Monica's Request for Judicial Notice in Support of
     7                  Motion to Dismiss Verified Third Amended Petition;
     8           3.     [Proposed] Order Granting Defendant City of Santa Monica's Motion
     9                  to Dismiss Verified Third Amended Petition; and
    10           4.     Declaration ofIvan O. Campbell in Support of Defendant City of
    11                   Santa Monica's Request for Judicial Notice
    12           I served the documents with the Clerk of Court using the CM/ECF system,
    13    which then sends a notification of such filing(NEF)to the following:
    14           Gary Daniel Feldon           gary.d.feldon@usdoj.gov
    15           Brian Lee Hazen              bhazen@mofo.com
    16                                        sdpdrive@mofo.com
    17                                        ykametani@mofo.com
    18           William V O'Connor, Jr woconnor@cooley.com
    19                                        mdejesus@cooley.com
    20           David M Walsh                dwalsh@mofo.com
    21                                        kbartolomeo@mofo.com
    22                                        docket-la@mofo.com
    23                                        dave-Walsh-7427@ecf.pacerpro.com
    24                                        Susan-etheredge-7866@ecf.pacerpro.com
    25                                        setheredge@mofo.com
    26
    27
    28
           Case No. 2:17-cv-07727 PSG(JEMx)         1                          CERTIFICATE OF SER
Case 2:17-cv-07727-PSG-JEM
  Case  N:17-.cv-07727-P .,EMDocument 6863Filed
                               Document         04/30/18
                                             Filed 04/23. Page 123ofof14
                                                            Page         Page ID
                                                                       3 Page ID #:1305
                                                                                 #:1346



     1          And I hereby certify that I will serve the above documents by messenger
     2   service to the following non-filing user:
     3                         Barry Rosen
     4                         136 South Clark Drive, No. 5
     5                         Los Angeles, CA 90048
     6
     7   Dated: Apri123, 2018                    CITY OF SANTA MONICA,
                                                 a municipal corporation
     8
     9
                                                 By:    /s/ Ivan O. Campbell
    10                                                 IVAN O. CAMPBELL
    11                                                 Deputy City Attorney

    12                                           Attorneys for Defendant
                                                 City of Santa Monica
    13
    14
    15
    16
    17
    18
    19
    20
    21
    22
    23
    24
    25
    26
    27
    28
          Case No. 2:17-cv-07727 PSG(JEMx)       2                             CERTIFICATE OF
Case 2:17-cv-07727-PSG-JEM Document 68 Filed 04/30/18 Page 13 of 14 Page ID #:1347




                              Exhibit 3
Case
 Case2:17-cv-07727-PSG-JEM
       2:tl.7-cv-07727-P~ ~M Document
                              Document6859-4
                                          FiledFiled
                                                 04/30/18
                                                     04/~ Page 14 of
                                                             Page    14~ Page
                                                                  1 of    PageIDID#:1348
                                                                                   #:718


      1                           UNITED STATES DISTRICT COURT
      2                         CENTRAL DISTRICT OF CALIFORNIA
      3    BARRY ROSEN,Individually and as a           Case No.     2:17-cv-07727 PSG(JEMx)
           Private Attorney General,
      4                                                 CERTIFICATE OF SERVICE FOR
                  Petitioner and Plaintiff,            FEDERAL DEFENDANTS' MOTION
      5                                                TO DISMISS PLAINTIFF'S
                  v.                                   (VERIFIED)THIRD AMENDED
      6                                                PETITION FOR WRIT OF MANDATE
           UNITED STATES GOVERNMENT,                    AND COMPLAINT FOR
      7    FEDERAL AVIATION                            DECLARATORY AND INJUNCTIVE
           ADMINISTRATION,AND CITY OF                   RELIEF FOR VIOLATIONS OF
      8    SANTA MONICA,                                ADMINISTRATIVE PROCEDURE
                                                        ACT(APA),NATIONAL
      9           Respondents and Defendants           ENVIRONMENTAL POLICY ACT
                                                       (NEPA),CALIFORNIA
     10                                                 ENVIRONMENTAL QUALITY ACT
                                                       (CEQA),CALIFORNIA STATE
     11                                                 AERONAUTICS ACT,ET AL.
     12                                                 Judge: Honorable Philip S.Gutierrez
     13
     14           I,Gary D.Feldon, certify that I served the foregoing Federal Defendants'
     15   Motion to Dismiss Plaintiff's (Verified) Third Amended Petition for Writ of
     16   Mandate and Complaint for Declaratory and Injunctive Relief for Violations of
     17   Administrative Procedure Act(APA),National Environmental Policy Act(NEPA),
     18   California Environmental Quality Act(CEQA),California State Aeronautics Act,
     19   Et Al. on opposing counsel by filing it via the Court's CM/ECF system, which sent
     20   notification of such filing to the counsel of record in this matter who are registered
     21   on the CM/ECF system.
     22
     23
     24           Executed on Apri123,2018,in Washington,D.C.
     25
                                                   /s/ Gary D.Feldon
     26
                                                  GARY D.FELDON
     27
     28
           Case No.2:17-cv-07727 PSG(JEMx)                          Federal Defendants' Motion to Dismiss
